Case 2:05-cr-20008-SH|\/| Document 34 Filed 06/24/05 Page 1 of 2 Page|D 33

 

 

 

 

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IN THE uNITED sTATEs DISTRICT couRT -’~~~‘-
FOR THE WESTERN DISTRICT OF TENNESSEE QSQHHZQ g_ `_
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UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
vs. ) CR. NO. 05-20008#Ma
)
ALFONSO PEREZ HERNANDEZ, )
)
Defendant. )
ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELA!
This cause came on for a change of plea hearing on June 22,
2005. Counsel requested a continuance in order to allow for

additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning September 6, 2005 at 9:30 a.m., with
a report date of Friday, August 26, 2005 at 2:00 p.m.

The period from June 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

434

IT IS SO ORDERED this day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 34 in
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Honorable Samuel Mays
US DISTRICT COURT

